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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION
  ________________________________________
                                           )
  MICHAEL MULGREW                          )
                                           )
        Plaintiff,                         )
                                           )
        v.                                 ) Case No. 1:22-cv-01311 (MSN/JFA)
                                           ) CASE CLOSED on November 2, 2023
                                           )
  PRINCE WILLIAM COUNTY SCHOOL             )
        BOARD                              )
                                           )
                                           )
        Defendant.                         )
                                           )

                             PLAINTIFF MICHAEL MULGREW’S
                                   NOTICE OF APPEAL

         Pursuant to Federal Rules 3 and 4 of Appellate Procedure, Plaintiff Michael Mulgrew, by

  and through the undersigned counsel, hereby appeals to the United States Court of

  Appeals for the Fourth Circuit from the final order granting the Defendant’s Motion to Dismiss.

  See November 2, 2023 final order (ECF No. 19).



  DATED: November 30, 2023                           Respectfully submitted,
                                                     Michael Mulgrew
                                                     By Counsel


                                                     ___/s/ Milton C. Johns_________
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                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on November 30, 2023, the foregoing was filed via the
  CM/ECF system, and an electronic copy was served on the following via a notice of electronic
  Filing (NEF):


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                                                     /s/ Milton C. Johns
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